   Case 1:23-cv-11195-SHS-OTW                 Document 449      Filed 01/27/25   Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 THE NEW YORK TIMES COMPANY,

                                 Plaintiff,

                 v.                                        Case No. 1:23-cv-11195 (SHS) (OTW)

 MICROSOFT CORPORATION, OPENAI, INC.,
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, OPENAI HOLDINGS, LLC,
                          Defendants.


 DECLARATION OF ELANA NIGHTINGALE DAWSON IN SUPPORT OF REPLY IN
       SUPPORT OF OBJECTION TO DISCOVERY ORDER AT ECF 344

I, Elana Nightingale Dawson, declare as follows:

        1.      I am a partner at Latham & Watkins LLP, and counsel for Defendants OpenAI,

Inc., OpenAI LP, OpenAI, LLC, OpenAI GP, LLC, OpenAI OpCo LLC, OpenAI Global LLC,

OAI Corporation, LLC, OpenAI Holdings, LLC, OpenAI Startup Fund I LP, OpenAI Startup Fund

GP I LLC, and OpenAI Startup Fund Management LLC in this matter. I have personal knowledge

of the facts set forth in this declaration. If called as a witness, I could and would competently

testify as to these facts under oath.

        2.      I submit this Declaration in Support of OpenAI’s Reply in Support of Objection to

Discovery Order at ECF 344.

        3.      Attached hereto as Exhibit A is a true and correct copy of a subpoena The New

York Times informed OpenAI that it was serving on Google LLC on January 6, 2025, in the above-

captioned action.


I declare under penalty of perjury that the foregoing is true and correct.
   Case 1:23-cv-11195-SHS-OTW          Document 449        Filed 01/27/25   Page 2 of 2




Executed this 27th day of January, 2025, in New York, NY



                                                 By: /s/ Elana Nightingale Dawson
                                                    Elana Nightingale Dawson




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